      Case 3:12-cr-02481-AJB   Document 21    Filed 07/13/12    PageID.18   Page 1 of 1



                        UNITED STATES DISTRICT COURT \
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                    CASE NO. 12E:J<,,24fH,...AJB

                       Plaintiff,
                vs.                          JUDGMENT OF DISMISSAL
IVANDA MEJIA,

                       Defendant.


          IT APPEARING that            defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed     another case   inst the defendant and
     the Court has granted the motion of the Government     dismissal of
     this case, without prejudice; or

     the Court has dismis         the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without    judice; or

     the Court has granted            motion of the      fendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the               fendant not guilty;

___
  X_ of the offense(s) as charged in the Indictment/Information:

     8:1324 (a) (2) (B) (iii) ;18:2



           IT IS THEREFORE ADJUDGED that the


DATED: 7/12/12
                                             Jan
                                             U.S. Magistrate Judge
